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                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                        JUL 16 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                       No. 24-2814
                                                D.C. No.
             Plaintiff - Appellant,             2:18-cr-00759-CJC-1
  v.
                                                MEMORANDUM*
ROBERT RUNDO,

             Defendant - Appellee.

                  Appeal from the United States District Court
                      for the Central District of California
                Cormac J. Carney, Senior District Judge, Presiding

                             Submitted May 3, 2024**

Before: PAEZ and M. SMITH, Circuit Judges, and TIGAR, District Judge.***

       The government timely appealed the order of the district court releasing

Defendant-Appellee Robert Rundo. The order was stayed pending resolution of

Appeal No. 24-932. We have jurisdiction pursuant to 18 U.S.C. § 3145(c), and we


       *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
       **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
       ***
            The Honorable Jon S. Tigar, United States District Judge for the
Northern District of California, sitting by designation.
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reverse the district court’s order. Because the parties are familiar with the facts,

we do not recount them here, except as necessary to provide context to our ruling.

1.    The district court clearly erred when it found that Rundo did not “pose a

danger to the safety” of others. See 18 U.S.C. § 3143. The district court stated that

“the government has provided no evidence that Mr. Rundo . . . caused any injury to

anyone,” despite mountains of evidence in the record to the contrary. This

evidence included photographs and videos of Rundo physically assaulting people,

and posts on social media where Rundo gloated about having used violence to

harm people. We are thus left with a “definite and firm conviction that a mistake

has been committed” in the district court’s analysis below. Easley v. Cromartie,

532 U.S. 234, 242 (2001) (quoting United States v. United States Gypsum Co., 333

U.S. 364, 395 (1948)).

2.    The district court clearly erred when it found that Rundo was not “likely to

flee” if released. See 18 U.S.C. § 3143. Rundo had evaded the government for

years by using fake passports and other identification, and he was only before the

district court in this case because he was successfully extradited from Romania.

The district court failed to mention this fact in its order. Its choice to gloss over

this evidence also leaves us with a “definite and firm conviction that a mistake has

been committed” in its analysis. Easley, 532 U.S. at 242 (quoting United States

Gypsum Co., 333 U.S. at 395).



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      REVERSED.




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